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Jn the Anited States Court of Federal Clatms

No. 16-197C
(Filed: October 7, 2016)

 

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OCT - 7 2016
CLEVON MORRISEY, JR.,
U.S. COURT OF
Plaintiff, FEDERAL CLAIMS
Vv.

THE UNITED STATES,

Defendant.

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ORDER OF DISMISSAL

 

WILLIAMS, Judge.

This matter comes before the Court on Defendant’s motion to dismiss the Complaint.
For the reasons stated below, Defendant’s motion to dismiss is granted.

Background

Plaintiff pro se Clevon Morrisey, Jr., is incarcerated at the Northern State Prison in
Newark, New Jersey. Compl. 3.' Plaintiff appears to allege that agencies and officers of the
State of New Jersey, as well as TD Bank and Golden Sun Realty, committed criminal conduct
under Title 18 of the United States Code and violated the Fourth, Fifth, Sixth, and Fourteenth
Amendments and the Federal Tort Claims Act. Mot. to Dismiss 2, 4.

Discussion

Plaintiff must first establish subject-matter jurisdiction before the Court may proceed to
the merits of the action. Hardie v. United States, 367 F.3d 1288, 1290 (Fed. Cir. 2004). The
Court must dismiss the action if subject-matter jurisdiction is found to be lacking. Adair v.
United States, 497 F.3d 1244, 1251 (Fed. Cir. 2007). The Court assumes all factual allegations
as true, and will construe the complaint in a manner most favorable to the plaintiff when ruling

 

As Plaintiff did not number the pages of his complaint, the Court will use the numbers

generated by the Court’s electronic filing system.

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on a motion to dismiss pursuant to Rule 12(b)(1). Pennington Seed, Inc. v, Produce Exch. No.
299, 457 F.3d 1334, 1338 (Fed. Cir. 2006).

The filings of pro se litigants are held to “‘less stringent standards than formal pleadings
drafted by lawyers.’” Naskar v. United States, 82 Fed. Cl. 319, 320 (2008) (quoting Haines v.
Kerner, 404 U.S. 519, 520 (1972)). However, pro se plaintiffs still bear the burden of
establishing the Court’s jurisdiction, and must do so by a preponderance of the evidence. See
Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988); Tindle v. United
States, 56 Fed. Cl. 337, 341 (2003).

 

The Tucker Act, 28 U.S.C. § 1491(a)(1) (2012), provides that this Court

shall have jurisdiction to render judgment upon any claim against the United
States founded either upon the Constitution, or any Act of Congress or any
regulation of an executive department, or upon any express or implied contract
with the United States, or for liquidated or unliquidated damages in cases not
sounding in tort.

The Tucker Act is not money-mandating, but rather is a jurisdictional statute. United States v.
Testan, 424 U.S. 392, 398 (1976). To establish jurisdiction, a plaintiff must seek money
damages under a source of substantive law. “[T]he claimant must demonstrate that the source of
substantive law he relies upon ‘can fairly be interpreted as mandating compensation by the
Federal Government for the damages sustained.’” United States vy. Mitchell, 463 U.S. 206, 216-
17 (1983) (quoting Testan, 424 U.S. at 400); see Jan’s Helicopter Serv., Inc. v. Fed. Aviation
Admin., 525 F.3d 1299, 1306 (Fed. Cir. 2008) (“[A] plaintiff must identify a separate source of
substantive law that creates the right to money damages.”) (internal quotations omitted).

 

Plaintiff appears to be challenging the actions of various agencies, departments, and
officials of the State of New Jersey, as well as two private businesses. The only proper
defendant in this Court is the United States. United States v. Sherwood, 312 U.S. 584, 588
(1941) (“[I]f the relief sought is against others than the United States the suit as to them must be
ignored as beyond the jurisdiction of the court.”); Del Rio v. United States, 87 Fed. Cl. 536, 539
(2009) (citing 28 U.S.C. § 1491(a)(1)). As Plaintiff has not challenged any action by the United
States, this Court lacks jurisdiction to entertain Plaintiff's claims.

 

Plaintiff alleges violations of the Federal Tort Claims Act, as well as the Fourth, Fifth,
Sixth, and Fourteenth Amendments, and various criminal statutes. This Court does not have
jurisdiction over claims pursuant to the Fourth or Sixth Amendments, or over claims under the
due process clauses of the Fifth and Fourteenth Amendments, as none of these provisions are
money mandating. LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995); Turpin v.
United States, 119 Fed. Cl. 704, 707-08 (2015); LaChance v. United States, 15 Cl. Ct. 127, 130
(1988). Further, this Court does not have jurisdiction over criminal matters or tort claims.
Rick’s Mushroom Serv., Inc. v. United States, 521 F.3d 1338, 1343 (Fed. Cir. 2008); Joshua v.
United States, 17 F.3d 378, 379 (Fed. Cir. 1994); see also 28 U.S.C. § 1346(b)(1)(2012) (stating
that the district courts have exclusive jurisdiction over actions brought pursuant to the Federal
Tort Claims Act).

 

 

 

 
 

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Finally, Plaintiff appears to be challenging his conviction by a New Jersey state court, as
well as his treatment by the New Jersey state prison system. However, this Court does not have
jurisdiction to entertain these claims. Trafny v. United States, 503 Fed. Cir. 1339, 1340 (Fed.
Cir. 2007); Landers v. United States, 39 Fed. Cl. 297, 301 (1997).

Conclusion

Defendant’s motion to dismiss is GRANTED. The Clerk of Court is directed to dismiss
this action.

MARY ELLEN COSTER WILLIAMS
Judge

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